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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,
                                                           CASE No. 1:20-CR-183-04
v.
                                                           HON. ROBERT J. JONKER
KALEB JAMES FRANKS,

                Defendant.

_______________________________/

                                            ORDER

         The matter is before the Court on Defendant Franks’ motion for an order compelling the

government to immunize certain witnesses, none of which are identified by name. (ECF No. 412).

Defendant Franks requests that the Court compel the government to provide grants of use

immunity to FBI agents and confidential human sources (“CHS”) involved in the case. Defendant

Franks believes that “a number of both the agents and sources have reason to refuse to testify by

invoking their Fifth Amendment rights,” which he says would undermine his defense.

Alternatively, he requests that the Court dismiss Count One of the Superseding Indictment if the

government refuses to provide immunity ordered by the Court.

         Defendant’s motion fails because a district court does not have authority to compel the

government to grant use immunity to a witness. United States v. Talley, 164 F.3d 989, 997 (6th

Cir.1999); United States v. Mohney, 949 F.2d 1397, 1401 (6th Cir. 1991). Under 18 U.S.C. § 6003,

only a “United States attorney may, with the approval of the Attorney General, Deputy Attorney

General, the Associate Attorney General, or any designated Assistant Attorney General or Deputy

Assistant Attorney General, request an order” that an individual “give testimony or provide other
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information which he refuses to give or provide on the basis of his privilege against self-

incrimination[.]” Thus, the statute gives the executive branch the sole authority and discretion to

grant immunity to a witness. Mohney, 949 F.2d at 1401.

       The Sixth Circuit has discussed, but not accepted, two limited theories under which a

compelled grant of immunity may be appropriate. Talley, 164 F.3d at 997-98. The first theory,

“effective defense,” potentially applies when “[immunity is] properly sought in the district court,

the witness is available to testify, the proffered testimony is both essential and clearly exculpatory,

and no strong governmental interests countervail against an immunity grant.” Mohney, 949 F.2d

at 1401 (citing Virgin Islands v. Smith, 615 F.2d 964, 972 (3d Cir. 1980)). The Sixth Circuit has

explicitly rejected this theory, noting that such compelled “immunity would raise separation of

powers concerns, because the decision of whom to prosecute is soundly within the discretion of

the prosecutor, not the courts.” Talley, 164 F.3d at 997. The Sixth Circuit has nonetheless left

open the possibility of compelled immunity if the government selectively grants “immunity to its

own witnesses, while denying immunity to the defendant’s witnesses.”                 Id.   To invoke

consideration of this narrow exception, a defendant must show that the evidence is “egregiously

lopsided” because of the government’s selective grant of immunity. Id. at 998. This exception

does not give a defendant “a right to have his witnesses immunized simply because the prosecution

relies on immunized witnesses to make its case.”           Id. at 997 (internal quotation omitted).

Defendant Franks has made no such showing here.

       Under the second potential theory, “prosecutorial misconduct,” immunity may be

warranted to remedy prosecutorial misconduct. Talley, 164 F.3d at 998. A defendant must show

that “the government’s decisions were made with the deliberate intention of distorting the judicial




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fact finding process.” Id. (internal quotation omitted). Defendant Franks does not assert this

theory and presents no facts that demonstrate such prosecutorial misconduct in any event.

         ACCORDINGLY, IT IS ORDERED that Defendant Franks’ motion (ECF No. 412) is

DENIED.



Dated:     January 26, 2022                 /s/ Robert J. Jonker
                                            ROBERT J. JONKER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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